                            No. 23-16102
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           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE NINTH CIRCUIT


                            JUSTIN DOWNING,

                            Plaintiff-Appellant,

                                     v.

                      LOWE’S HOME CENTERS, LLC,

                           Defendant-Appellee.

              On Appeal from the United States District Court
                       for the District of Arizona
                         No. 3:22-cv-08159-SPL
                          Hon. Steven P. Logan


                   APPELLANT’S OPENING BRIEF


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                                INTRODUCTION

      Plaintiff-Appellant Justin Downing (“Appellant” or “Downing”) respectfully

appeals the district court’s dismissal of his claims against Defendant-Appellee

Lowe’s Home Centers, LLC (“Appellee” or “Lowe’s”) for violations of the Fair

Credit Reporting Act, 15 U.S.C. § 1681b(b)(2), et seq. (“FCRA” or “Act”).

      Downing applied for a job with Lowe’s. Throughout the hiring process, he

was asked to sign a variety of forms, including a consumer report disclosure (the

“Disclosure” or “Lowe’s Disclosure”). Shortly after completing and submitting the

forms, Downing was informed by Lowe’s that he was being denied a job based on

the contents of an inaccurate consumer report compiled by Defendant First

Advantage Background Services Corporation (“First Advantage”).

      Downing thereafter filed suit against Lowe’s alleging, on behalf of himself

and all others similarly situated, that Lowe’s violated § 1681b(b)(2)(A) of the

FCRA. Downing alleged that Lowe’s had violated the Act in two distinct ways: (1)

by failing to provide a “clear and conspicuous” disclosure that a consumer report

would be procured for employment purposes, and (2) by failing to provide a

consumer report disclosure that “stands alone” as required by 15 U.S.C. §




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1681b(b)(2)(A).1

      The district court erred in dismissing Downing’s claims against Lowe’s in at

least two respects. First, the district court erred in finding that the Disclosure was

“clear and conspicuous.” As seen from the Disclosure, it contains ambiguous and

confusing language purporting to authorize Lowe’s to obtain consumer reports

regarding not only applicants, but their “child/ward” as well. The district court

brushed off such ambiguity, reasoning that it is of “no matter to the FCRA

disclosure requirement” whose information is being obtained. (ER-22.) But this

conclusion is contrary to the plain language of the FCRA, which specifically limits

the information that may be included in an employment-related consumer report to

the applicant. Further, the decision ignores that the “child/ward” language as

presented is ambiguous—it could be intended to be used with respect to minor

applicants (as Lowe’s has alluded), or it could be intended to permit Lowe’s to

obtain reports regarding applicants and their children/ward (as the district court

found). The presence of the ambiguity itself renders the Disclosure unclear.




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 Downing also asserted claims against the background check vendor, First
Advantage, for its failure to implement adequate procedures designed to ensure the
accuracy of the information contained in his consumer report. The claims against
First Advantage remain pending in the district court, while the claims against
Lowe’s were dismissed and judgment was certified for appeal pursuant to Rule
54(b).

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      Second, the district court erred by finding that the Lowe’s Disclosure met

the FCRA’s requirement that it be contained within a document that consists solely

of the disclosure. Given the “child/ward” language, the Disclosure is a “combined

disclosure” as opposed to one that stands alone. Likewise, the Disclosure’s

inclusion of the statement that Lowe’s would only obtain “credit” information if it

provided “separate” disclosures in the future should also have negated a finding

that the Disclosure stands alone. The district court, however, found that the

Disclosure merely referenced extraneous documents related to the applicants’

FCRA rights. Such a conclusion is at odds with this Court’s decisions in Syed,

Gilberg, and Walker—all of which foreclose reading implied exceptions into the

Act’s “standalone” mandate (even if they further the purpose of the FCRA).

      In light of these errors, the district court’s order granting Lowe’s motion to

dismiss with prejudice should be reversed, and the case should be remanded so that

Downing and the alleged class can have their day in Court.

                       JURISDICTIONAL STATEMENT

      The United States District Court for the District of Arizona had subject

matter jurisdiction under 28 U.S.C. § 1331 because this action arose under the Fair

Credit Reporting Act, 15 U.S.C. § 1681, et seq., which is a federal statute. The

court also had jurisdiction pursuant to the Class Action Fairness Act, 28 U.S.C. §

1332(d), et seq. (“CAFA”), because the alleged classes consist of over 100 people,


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at least one member of each class is a citizen of a different State than the

Defendants, and the amount in controversy exceeds $5,000,000. Further, none of

the exceptions to CAFA jurisdiction apply.

      This Court has jurisdiction pursuant to 28 U.S.C. § 1291 because the district

court issued partial judgment pursuant to Fed. R. Civ. P. 54(b). Trim v. Reward

Zone USA LLC, 76 F.4th 1157, 1160 (9th Cir. 2023) (citing SEC v. Cap.

Consultants LLC, 453 F.3d 1166, 1174 (9th Cir. 2006)). On June 20, 2023, the

district court granted Defendant-Appellee’s motion to dismiss with prejudice. (ER-

10.) On July 31, 2023, the court granted Appellant’s motion for certification of

judgment pursuant to Federal Rule of Civil Procedure 54(b), (ER-5), and entered

judgment in favor of Lowe’s that same day (which was amended on August 2,

2023). (ER-4, ER-3.) Downing timely filed a notice of appeal on August 14, 2023.

(ER-61.) The appeal is timely pursuant to Fed. R. App. P. 3(a)(1) and 4(a)(1)(A)

because it was filed within thirty (30) days of the district court’s entry of judgment.

                          STATUTORY AUTHORITIES

                              Fair Credit Reporting Act

15 U.S.C. § 1681a(d)(1)

      (d) Consumer report

             (1) In general

             The term “consumer report” means any written, oral, or other
             communication of any information by a consumer reporting
                                           4
agency bearing on a consumer's credit worthiness, credit
standing, credit capacity, character, general reputation, personal
characteristics, or mode of living which is used or expected to
be used or collected in whole or in part for the purpose of
serving as a factor in establishing the consumer's eligibility for-
-

      (A) credit or insurance to be used primarily for personal,
      family, or household purposes;

      (B) employment purposes; or

      (C) any other purpose authorized under section 1681b of
      this title.

(2) Exclusions

Except as provided in paragraph (3), the term “consumer
report” does not include--

      (A) subject to section 1681s-3 of this title, any--

             (i) report containing information solely as to
             transactions or experiences between the consumer
             and the person making the report;

             (ii) communication of that information among
             persons related by common ownership or affiliated
             by corporate control; or

             (iii) communication of other information among
             persons related by common ownership or affiliated
             by corporate control, if it is clearly and
             conspicuously disclosed to the consumer that the
             information may be communicated among such
             persons and the consumer is given the opportunity,
             before the time that the information is initially
             communicated, to direct that such information not
             be communicated among such persons;


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                 (B) any authorization or approval of a specific extension
                 of credit directly or indirectly by the issuer of a credit
                 card or similar device;

                 (C) any report in which a person who has been requested
                 by a third party to make a specific extension of credit
                 directly or indirectly to a consumer conveys his or her
                 decision with respect to such request, if the third party
                 advises the consumer of the name and address of the
                 person to whom the request was made, and such person
                 makes the disclosures to the consumer required
                 under section 1681m of this title; or

                 (D) a communication described in subsection (o) or (x).

           (3) Restriction on sharing of medical information

           Except for information or any communication of information
           disclosed as provided in section 1681b(g)(3) of this title, the
           exclusions in paragraph (2) shall not apply with respect to
           information disclosed to any person related by common
           ownership or affiliated by corporate control, if the information
           is--

                 (A) medical information;

                 (B) an individualized list or description based on the
                 payment transactions of the consumer for medical
                 products or services; or

                 (C) an aggregate list of identified consumers based on
                 payment transactions for medical products or services.

15 U.S.C. § 1681b(b)(2)

     (2) Disclosure to consumer

           (A) In general



                                       6
            Except as provided in subparagraph (B), a person may not
            procure a consumer report, or cause a consumer report to be
            procured, for employment purposes with respect to any
            consumer, unless--

                   (i) a clear and conspicuous disclosure has been made in
                   writing to the consumer at any time before the report is
                   procured or caused to be procured, in a document that
                   consists solely of the disclosure, that a consumer report
                   may be obtained for employment purposes; and

                   (ii) the consumer has authorized in writing (which
                   authorization may be made on the document referred to
                   in clause (i)) the procurement of the report by that
                   person.

                             ISSUES PRESENTED

      1.    Whether Downing stated a claim against Lowe’s for violation of the

FCRA’s requirement that job applicants be provided with a “clear and

conspicuous” disclosure that a consumer report will be obtained for employment

purposes where Lowe’s Disclosure included ambiguous and confusing language

regarding the applicant’s “children/wards” and potential future consumer reports.

      2.    Whether Downing stated a claim for violation of the FCRA’s “stand-

alone” disclosure requirement where Lowe’s used a Disclosure that included

information about “children/wards” and references to undefined future disclosures.




                                         7
                         STATEMENT OF THE CASE

      In or around February 2022, Plaintiff-Appellant Downing applied for a job

at one of Defendant-Appellee Lowe’s home improvement stores located in Show

Low, Arizona. (ER-33.) As part of his employment application, Downing was

required to review and complete a variety of employment forms. (Id.)

      Among these forms was a Disclosure regarding the procurement of

Downing’s background report. (Id.; ER-57–58.) The background check Disclosure

stated as follows:

      Lowe’s Companies, Inc. and/or its affiliates, including Lowe’s Home
      Centers, LLC, (“Lowe’s”) may obtain a “background report” about
      you or your child/ward for employment purposes from a third-party
      consumer reporting agency. “Background report” means any written,
      oral, or other communication of any information by a consumer
      reporting agency bearing on your or your child’s/ward’s credit
      worthiness, credit standing, credit capacity, character, general
      reputation, personal characteristics, or mode of living. The reports
      may include information regarding your or your child’s/ward’s
      history, criminal history, social security verification, motor vehicle
      records, verification of your education or employment history, or
      other background check results.

      Lowe’s will not request any information related to your or your
      child’s/ward’s worthiness, credit standing, or credit capacity without
      providing you or your child/ward, separately, with information related
      to the use of that information and obtaining separate authorization
      from you to obtain such information, where required.

(ER-33–34; ER-57–58.) Following this disclosure, Lowe’s procured a background

check on Downing. (ER-35.) The report, which was compiled by First Advantage,

included inaccuracies regarding his prior criminal convictions. (ER-35–36.)
                                        8
Notwithstanding the inaccurate report, Lowe’s decided to terminate Plaintiff’s

employment as a result of the information contained in the First Advantage report.

(ER-36–37.)

      Plaintiff filed his lawsuit against Lowe’s on September 8, 2022, in the

United States District Court, District of Arizona, alleging that Lowe’s willfully

violated the Fair Credit Reporting Act by providing an unclear disclosure form that

failed to standalone. (ER-68.) Downing sought relief on his own behalf, as well as

on behalf of alleged classes of individuals who have been harmed by the same

unlawful Disclosure. (ER-37–40.)

      On November 10, 2022, Lowe’s filed a Rule 12(b)(6) motion to dismiss

Downing’s. (ER-69.) After Downing’s response and Lowe’s reply, on June 20,

2023, the district court issued an Order dismissing Downing’s claims against

Lowe’s with prejudice. (ER-10.)

      The district court’s Order dismissing the claims against Lowe’s found that

the Disclosure met the FCRA’s clear and conspicuous requirement. (ER-20–23.) In

doing so, the district court erroneously concluded that the “child/ward” language

did not violate the Act because “[w]hether the report concerns ‘the applicant, their

children/wards, or both’ is of no matter to the FCRA disclosure requirement.” (ER-

22.) Rather, the court held that the FCRA requires only “a clear and conspicuous

disclosure . . . that a consumer report may be obtained for employment purposes.”


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(Id.) The district court also concluded that the Disclosure’s reference to future

disclosures and reports was “clear” because it provides the categories of

information that “would not be requested by Lowe’s unless the applicant signed a

separate authorization.” (ER-23) (Emphasis in original).

      The district court also found that the Disclosure satisfied the FCRA’s

standalone disclosure requirement. (ER-15–20.) The district court downplayed the

Disclosure’s repeated use of the “child/ward” language, finding that such wording

disclosed “whose information might be obtained as part of the background

report”—which the court found to constitute a description of what the report

entails. (ER-20.) With respect to the second paragraph’s reference to future

disclosures and authorizations, the district court found that the language was

permissible because it “does not divert the applicant’s attention away from his or

her rights under the FCRA.” (ER-19.) In doing so, the district court tried to

distinguish Lowe’s Disclosure with the disclosures in Gilberg and Walker—

inaccurately describing the forms in those cases in the process. (ER-18–19.)

      Because the district court erred in granting Lowe’s motion to dismiss,

Downing timely filed his notice of appeal from the judgment and respectfully asks

this Court to reverse and remand.

                       SUMMARY OF THE ARGUMENT

      I.     The district court erred in dismissing Downing’s FCRA disclosure


                                          10
claims. The FCRA requires that prior to procuring a consumer report for

employment purposes employers must provide a disclosure that is both “clear and

conspicuous” and that consists solely of the disclosure. Lowe’s Disclosure flunks

both requirements.

        First, the Lowe’s Disclosure was not “clear”. The Disclosure contained

ambiguous and confusing language regarding Lowe’s ability to procure a

consumer report regarding the applicant, their “child/ward,” or both. The district

court found that such language is not unclear because it merely explains whose

information may be procured. But that overlooks the plain language of the Act,

which requires that the Disclosure pertain to consumer reports regarding the

applicant. Further, such reasoning also ignores the ambiguity of the “child/ward”

language, which could reasonably be interpreted in different ways. On one hand,

the language could be read such that it is intended to be used with respect to

minors who are applying for work at Lowe’s. At the same time, it is also

reasonable to read such language as authorizing Lowe’s to obtain consumer reports

not only regarding the applicant, but the applicant’s children or other dependents as

well.

        The second paragraph also creates confusion as to what sort of report may be

obtained because it appears to contradict the first paragraph’s statement that the

consumer report will bear on the applicant’s worthiness, credit standing, and credit


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capacity. Together, the language of the Disclosure is both ambiguous and

confusing, and therefore runs afoul of the FCRA’s mandate that the disclosure be

clear and conspicuous.

      Second, the district court also erred by finding that the Lowe’s Disclosure

met the FCRA’s standalone disclosure requirement. The same language that

renders the Disclosure unclear also violates the Act’s standalone disclosure

requirement. Indeed, the Disclosure is not a singular disclosure purporting to

authorize Lowe’s to obtain a report regarding the applicant—it is a combined,

confusing disclosure purporting to authorize Lowe’s to obtain consumer reports

regarding the applicant and their child/ward.

      Moreover, the Disclosure’s second paragraph references extraneous, future

disclosures and authorizations that may be provided relating to credit

information—which are not pertinent to the instant consumer report disclosure.

The district court found the second paragraph complied with the Act by reading

into the FCRA an exception for extraneous information that pertains to the

applicant’s FCRA related rights. Such a conclusion runs counter to this Court’s

prior decisions in Syed, Gilberg, and Walker, which foreclose implied exceptions.

      Lowe’s Disclosure thus violates FCRA’s mandate that employment-related

consumer report disclosures be clear and conspicuous and provided in a document

that consist solely of the disclosure.


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      Finally, Downing also alleged that Lowe’s violations of the FCRA were

willful. Indeed, the Ninth Circuit had issued Syed, Gilberg, and Walker all prior to

the allegations that gave rise to the claims. Further, Lowe’s has been involved in

prior lawsuits challenging the sufficiency of its FCRA disclosure. Lowe’s was on

notice of its obligations under the law, and it took steps that were objectively

unreasonable and in reckless disregard of those obligations.

      As such, and as explained more fully below, the Court should reverse the

dismissal of Downing’s Complaint and allow this case to proceed.

                            STANDARD OF REVIEW

      A district court’s decision to grant a motion to dismiss under Federal Rule of

Civil Procedure 12(b)(6) is reviewed de novo. Manzarek v. St. Paul Fire & Marine

Ins. Co., 519 F.3d 1025, 1030 (9th Cir. 2008) (citing Outdoor Media Group, Inc. v.

City of Beaumont, 506 F.3d 895, 899 (9th Cir. 2007)). The reviewing court accepts

factual allegations in the complaint as true and construes the pleadings in the light

most favorable to the nonmoving party. Manzarek, 519 F.3d at 1031.

                                   ARGUMENT

I.    LOWE’S DISCLOSURE VIOLATES THE FCRA’S REQUIREMENT
      THAT THE DISCLOSURE BE CLEAR AND CONSPICUOUS IN A
      DOCUMENT THAT CONSISTS SOLELY OF THE DISCLOSURE.

      The district court committed reversible error when its granted Lowe’s

Motion to Dismiss. First, the district court erred by finding that the Disclosure met


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the FCRA’s “clear and conspicuous” requirement. Second, the district court’s

decision conflicts with the Act’s mandate that the disclosure be contained in a

document that consists solely of the disclosure. The Disclosure that Lowe’s

provided to Plaintiff was not clear and conspicuous, and it did not consist solely of

the disclosure—rather, the document contains ambiguous and confusing language

related to background checks of the applicant’s “child/ward” as well as extraneous

references to separate future consumer reports and disclosures.

      As a result, the Disclosure provided to Downing and other members of the

alleged Class was not clear, and it did not stand alone. The district court’s Order

dismissing the case was therefore made in error and should be reversed.

      A.     The Lowe’s Disclosure Contained Ambiguous And Confusing
             References To The Applicant’s “Child/Ward”—Rendering The
             Disclosure Unclear.

      The district court’s conclusion that Lowe’s Disclosure was “clear and

conspicuous” is flawed for two reasons: (1) the district court ignored the ambiguity

of the “or your child/ward” language and incorrectly applied its own interpretation

of how the phrase was supposedly intended, and (2) the district court incorrectly

concluded that such references were unlikely to confuse job applicants. As

explained below, the district court’s decision runs contrary to the plain language of

the Act and this Court’s prior decisions.

      Though the FCRA’s “clear and conspicuous” provision is a singular


                                            14
requirement, each prong is analyzed, and must be satisfied, individually. This

Court has explained that, to be “clear,” a disclosure must be “reasonably

understandable,” and to be “conspicuous” it must be “readily noticeable to the

consumer.” Gilberg v. Cal. Check Cashing Stores, LLC, 913 F.3d 1169, 1176 (9th

Cir. 2019) (citing Rubio v. Capital One Bank, 613 F.3d 1195 (9th Cir. 2010)).

Ultimately, to satisfy the FCRA, a disclosure must be both clear and conspicuous.

In Gilberg, for example, the disclosure was conspicuous, but it “contain[ed]

language that a reasonable person would not understand” and was therefore

unclear. Gilberg, 913 F.3d at 1177.

      In setting out this standard, the Gilberg court “adopt[ed]” the “clear and

conspicuous” analysis from Rubio v. Capital One Bank, 613 F.3d 1195 (9th Cir.

2010), a case addressing the Truth in Lending Act. Id.at 1176. In Rubio, the Court,

analyzing competing interpretations of “fixed rate” in a disclosure, considered how

a reasonable consumer would interpret the term. Id. at 1201. The presence of

competing reasonable interpretations showed the term was ambiguous, precluding

a finding that the disclosure was clear and conspicuous:

      But it is precisely because reasonable consumers can interpret an
      ambiguous disclosure in more than one way that such a disclosure
      cannot be clear and conspicuous. See, e.g., Lifanda v. Elmhurst
      Dodge, Inc., 237 F.3d 803, 808 (7th Cir. 2001). Furthermore, because
      TILA is liberally construed in favor of the consumer and strictly
      enforced against the creditor, Jackson, 890 F.2d at 120, any
      misleading ambiguity—any disclosure that a reasonable person could
      read to mean something that is not accurate—“should be resolved in
                                         15
      favor of the consumer.” Rossman, 280 F.3d at 394.

Rubio, 613 F.3d at 1202. The FCRA is to be similarly construed. See Guimond v.

Trans Union Credit Info. Co., 45 F.3d 1329, 1333 (9th Cir. 1995) (“These

consumer oriented objectives support a liberal construction of the FCRA.” (citing

Kates v. Crocker Nat. Bank, 776 F.2d 1396, 1397 (9th Cir. 1985))).

      Applied here, the Lowe’s Disclosure was ambiguous in that it informed

applicants that Lowe’s may procure a consumer report regarding the applicant “or

[their] child/ward”. (ER-33–34; ER-57–58.) This language could be construed in at

least two ways. First, it could be read to apply to minors who apply to work at

Lowe’s—the form would thus be seen as seeking parental permission for the report

concerning their minor child/ward. At the same time, the language could be read as

applying to consumer reports about the applicant that contains consumer credit

information regarding the applicant and their child/ward—despite the child/ward

not being an applicant. In other words, under the ambiguous nature of the form that

Lowe’s drafted, an adult applicant is arguably authorizing the procurement of a

consumer report that will contain consumer information about the applicant as well

as the applicant’s child/ward. As phrased, the scope of the disclosure is “unclear as

to whether Lowe’s intends to procure a consumer report regarding the applicant,

their children/wards, or both.” (ER-31.) Because the Disclosure is ambiguous, it

cannot be considered “clear”.


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       In dismissing the case, the district court found as follows:

      The Disclosure’s repeated references to the consumer or applicant’s
      “child/ward” are not confusing; rather, the references simply disclose
      to the reader that Lowe’s may obtain information about their child.
      Plaintiff argues that ambiguity exists as to “whether Lowe’s intends to
      procure a consumer report regarding the applicant, their
      children/wards, or both.” (Doc. 23 at 11 (citing Doc. 11 at 3)). Even
      assuming such ambiguity exists, however, the Court cannot find that
      the entire Disclosure is rendered confusing, misleading, or otherwise
      unclear as a result. Whether the report concerns “the applicant, their
      children/wards, or both” is of no matter to the FCRA disclosure
      requirement. Rather, the Act requires only “a clear and conspicuous
      disclosure . . . that a consumer report may be obtained for
      employment purposes.” § 1681b(b)(2)(A)(i). The Disclosure here
      does just that; it clearly discloses that Lowe’s may obtain, for
      purposes of employment, a background report concerning the
      consumer/applicant or their child/ward.

(ER-22) (Emphasis added).

      The district court’s rational is untenable. It states that the ambiguity must

render the entire Disclosure confusing or otherwise unclear—that is not the law.

And in any case, the ambiguity regarding the child/ward language renders the

report unclear as to scope, including whose information will be contained in the

report. This information is needed to make an informed authorization. And it is far

from irrelevant: the FCRA expressly prohibits employers from procuring a

consumer report “with respect to any consumer”, unless the employer provides: (1)

a “clear and conspicuous” disclosure to “the consumer”, and (2) “the consumer has

authorized” the procurement of the report. See 15 U.S.C. § 1681b(b)(2)(A). The

district court reads “with respect to any consumer” out of the Act and proceeds as
                                         17
if the report may be obtained about any person, even dependents of the consumer-

applicant. The district court’s rationale, if upheld, would open the door to

employers obtaining unrelated consumer reports regarding non-applicants despite

the Act’s express prohibition against procuring such reports.

      That the Disclosure may reasonably be interpreted in different ways is

perhaps best exemplified by the fact the district court’s reading of the child/ward

language differs from Lowe’s own interpretation. Indeed, whereas the district court

concluded “The Disclosure’s repeated references to the consumer or applicant’s

‘child/ward’ …simply disclose to the reader that Lowe’s may obtain information

about their child,” Lowe’s itself has asserted that the disclosure was intended to

obtain parental permission for minor applicants.2 That Lowe’s and the district court

reached competing conclusions shows the language is susceptible to multiple

interpretations, rendering the Disclosure plausibly unclear to survive the pleadings

stage. Rubio, 613 F.3d at 1202 (“[I]t is precisely because reasonable consumers can

interpret an ambiguous disclosure in more than one way that such a disclosure

cannot be clear and conspicuous.”).




2
  In its motion to dismiss, Lowe’s asserted that the Disclosure may have been used
in the context of notifying a parent in the case of a minor applicant. (ER-28.) That
may be true, but the problem is twofold: (1) the Disclosure was provided to all
applicants (not just minors); and (2) as phrased, it permits Lowe’s to procure a
report concerning all applicants’ children/wards regardless of the information’s
relevance to the employment purpose.
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      In addition to the ambiguity, the district court erred by finding that “the

Disclosure’s final sentence merely provides that a specific category of

information—i.e., information related to the applicant’s worthiness, credit

standing, or credit capacity—would not be requested by Lowe’s unless the

applicant signed a separate authorization.” (ER-23.) The second paragraph—which

states that information related to “you or your child’s/ward’s worthiness, credit

standing, or credit capacity” will not be requested without disclosing further

information and obtaining separate authorization (ER-57-58)—is confusing as to

the nature of the report being procured. Given that Lowe’s included information

that may bear on worthiness, credit standing, and credit capacity in its initial

description of “background report,” the second paragraph calls into question

whether Lowe’s intends to obtain a background report at all—it is not reasonably

understandable why Lowe’s would disclose that it may obtain a report containing

various information only to state in the same disclosure form that it will do so

following additional disclosures. (ER-34; ER-44.)

      Further, the second paragraph refers to “worthiness,” as opposed to credit

worthiness. It is unclear whether “worthiness” encompasses some or all the

information noted in the first paragraph or perhaps another nebulous category of

information that Lowe’s may review. (ER-57-58.) In short, the second paragraph

of Lowe’s Disclosure further muddies what is an already confusing disclosure.


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Applicants like Downing cannot reasonably understand what exactly is being

disclosed and what report, if any, Lowe’s intends to procure.

      Because it includes ambiguous and confusing language regarding

background reports of the applicants’ children and contradicts its own expressed

intent with a qualification for any report concerning “worthiness,” Lowe’s

Disclosure is unclear, if not indecipherable. Accordingly, Downing has stated a

claim for relief for violation of the FCRA, and the district court’s Order dismissing

the claims against Lowe’s should be reversed.

      B.     The District Court Also Erred By Concluding As A Matter Of
             Law That Lowe’s Disclosure—Which Includes References To
             Children/Wards And Extraneous Disclosures—Stands Alone.

      In addition to being unclear, the Disclosure also violates the FCRA because

it fails to stand alone. The Disclosure contains extraneous information, and the

district court erred by reading an implied exception into the Act.

             1.    The plain language of the FCRA and Ninth Circuit
                   precedent require consumer report disclosures to be made
                   in a document that consists solely of the disclosure.

      The FCRA expressly mandates that a consumer report disclosure must be

made “in a document that consists solely of the disclosure”. 15 U.S.C. §

1681b(b)(2)(A)(i). The language is not subject to interpretation for the last 6 years:

      Where congressional intent “has been expressed in reasonably plain
      terms, that language must ordinarily be regarded as conclusive.” . . .
      The ordinary meaning of “solely” is “[a]lone; singly” or “[e]ntirely;
      exclusively.”

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Syed v. M-I, LLC, 853 F.3d 492, 500 (9th Cir. 2017) (citations omitted). In Syed,

this Court noted that other FCRA disclosure provisions omit the term “solely,”

which indicates “that Congress intended that term to carry meaning in 15 U.S.C. §

1681b(b)(2)(A)(i).” Id. at 501. Further, “in light of Congress’s express grant of

permission for the inclusion of an authorization, the familiar judicial maxim

expressio unius est exclusio alterius counsels against finding additional, implied,

exceptions.” Syed, 853 F.3d at 501. Thus, any extraneous information contained in

a disclosure form violates the standalone requirement.

      This Court reinforced Syed in two subsequent cases. First, in Gilberg, when

considering the inclusion of state law disclosures, the Court clarified that “Syed’s

holding and statutory analysis were not limited to liability waivers; Syed

considered the standalone requirement with regard to any surplusage.” 913 F.3d at

1175. The clarity of the FCRA’s standalone provision is beyond dispute:

      We concluded [in Syed] the statute meant what it said: the required
      disclosure must be in a document that “consist[s] ‘solely’ of the
      disclosure.” We based this holding on the statute’s plain language,
      noting “[w]here congressional intent ‘has been expressed in
      reasonably plain terms, that language must ordinarily be regarded as
      conclusive.’”

Id. (citing Syed, 853 F.3d at 496, 500).

      This Court reiterated that “a disclosure form violates the FCRA’s standalone

requirement if it contains any extraneous information beyond the disclosure


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required by the FCRA” in Walker v. Fred Meyer, Inc., 953 F.3d 1082, 1088 (9th

Cir. 2020). The Walker court explained the information that may be contained

within a disclosure as follows:

      We now hold that beyond a plain statement disclosing “that a
      consumer report may be obtained for employment purposes,” some
      concise explanation of what that phrase means may be included as part
      of the “disclosure” required by § 1681b(b)(2)(A)(i). For example, a
      company could briefly describe what a “consumer report” entails, how
      it will be “obtained,” and for which type of “employment purposes” it
      may be used. See 15 U.S.C. § 1681b(b)(2)(A)(i). Such information
      would further the purpose of the disclosure by helping the consumer
      understand the disclosure. See Syed, 853 F.3d at 501 (noting that
      Congress’ purpose to protect consumers from improper invasions of
      privacy would be frustrated in the absence of a clear disclosure
      because job applicants would not understand what they were
      authorizing).

Id. at 1088–89 (9th Cir. 2020). But the Walker court went on to find that including

references to other rights protected by the FCRA could run afoul of the Act’s

requirement. There, the court considered whether a paragraph informing the

consumer of their right to inspect their consumer report ran afoul of the Act. Id. at

1090. By including this paragraph, the disclosure was found to have violated the

standalone disclosure requirement. Id. at 1090. This Court explained:

      This language, however, may “pull[ ] the applicant's attention away
      from his privacy rights protected by the FCRA by calling his attention
      to the rights” that he has to inspect GIS's files. See Syed, 853 F.3d at
      502; see also Gilberg, 913 F.3d at 1175–76 (noting that additional
      information about rights under state laws, and references to
      extraneous documents like a summary of rights under the FCRA, was
      “as likely to confuse as it [wa]s to inform,” and holding that the


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      inclusion of such information violated the standalone disclosure
      requirement).

Id. at 1090–91. Taken together, Syed, Gilberg, and Walker stand for the

unremarkable proposition “that the standalone requirement forecloses implied

exceptions” beyond a brief description of the report. Gilberg, at 1176; see also

Walker, at 1090–91. Hence, extraneous information included under the guise of

furthering the purpose of the FCRA “ does not override plain meaning”—“even

‘related’ information may distract or confuse the reader,” as the presence of

extraneous information in a disclosure form that is “as likely to confuse as it is to

inform” does not further the purpose of the FCRA. Id. at 1175–76; see also

Walker, at 1090–91.

      The district court erred by concluding that Lowe’s Disclosure stands alone.

             2.     Lowe’s Disclosure fails to stand alone—it contains
                    extraneous language purporting to allow Lowe’s to obtain
                    information regarding the applicant’s children or wards
                    and referenced extraneous, future disclosures.

      Similar to its errors with respect to the Disclosure’s lack of clarity, the

district court incorrectly concluded that the Lowe’s Disclosure stands alone despite

the references to (a) an applicant’s child/ward and (b) extraneous, future

disclosures and reports. Neither is permitted.

      The district court first erred in finding that employers may combine separate

disclosures into a single document. As previously explained, the Lowe’s


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Disclosure contains extra language purporting to allow it to pull reports for either

the applicant “or [their] child/ward.” (ER-41; ER-57–58.) In other words, the

Lowe’s Disclosure purports to extend to the rights of multiple individuals,

including the applicant’s children. The district court found that the use of a

combined disclosure did not run afoul of the FCRA as follows:

      Plaintiff argues that the Disclosure’s inclusion of “extra language
      purporting to allow First Advantage to pull reports for either the
      applicant ‘or [their] child/ward’” renders the entire Disclosure to be in
      violation of the standalone requirement. (Doc. 23 at 9). Plaintiff
      explains that this language makes the Disclosure “not one, standalone
      disclosure, but a joint disclosure for multiple people” and that it
      “functions to pull the applicant’s attention away.” (Id. at 9–10). The
      Court is unpersuaded. This language merely informs the applicant of
      whose information might be obtained as part of the background report,
      which falls squarely within the scope of “describ[ing] what a
      ‘consumer report’ entails.” Walker, 953 F.3d at 1084.

(ER-20.) Again, the Order ignores both the Disclosure’s ambiguity as well as

Lowe’s own interpretation of the language. As previously explained, the FCRA

limits whose information can be included in an employment related consumer

report to only the applicant-consumer. See 15 U.S.C. § 1681b(b)(2)(A). The

district court ignored this and supplied an interpretation that was most favorable to

Lowe’s. This constitutes error. The language in the Disclosure is not one,

standalone disclosure, but a joint disclosure for multiple people. The statement that

Lowe’s “may obtain a ‘background report’ about you or your child/ward for

employment purposes” is not qualified in any way and applies to any party signing


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the form—if a parent fills out the form on behalf of a minor applicant, the form

discloses a potential report for either the parent or child. (ER-57–58.) By opting for

a joint disclosure, Lowe’s ran afoul of the FCRA’s standalone disclosure

requirement.

      The district court also erred by finding that the inclusion of the second

paragraph referencing the potential for an additional, “separate” disclosure and

authorization that Lowe’s would present to the applicant prior to pulling a

consumer credit report. Finding this did not run afoul of the FCRA, the court held:

      Unlike the liability waiver in Syed and the language referencing the
      applicant’s non-FCRA rights in Gilberg and Walker, the final
      sentence in the Lowe’s Disclosure does not divert the applicant’s
      attention away from his or her rights under the FCRA. Rather, the
      Court finds that the sentence—which explains that certain credit-
      related information will only be obtained if a separate authorization is
      signed—is merely part of the Disclosure’s “concise explanation” of
      what it means for Lowe’s to obtain a consumer report.

(ER-19) (Emphasis added).

      The district court’s rationale misreads Gilberg and Walker. Whether a

disclosure refers to extraneous information concerning rights under the FCRA as

opposed to other statutes is irrelevant.3 Both Gilberg and Walker involved




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 Indeed, under the district court’s reasoning, a disclosure referencing an
employer’s intent to use the report for affiliate marketing purposes under 15 U.S.C.
§ 1681s-3 would technically be referencing a consumers’ rights under the FCRA,
but it has no connection to the employment inquiry. The Court should refuse to
adopt an implied exception for FCRA-related rights.

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disclosures that violated the FCRA’s standalone disclosure rule based on the

inclusion of information regarding the applicants’ rights under the FCRA. See

Gilberg, 913 F.3d at 1175–76 (finding, in part, that the inclusion of a “Summary of

Your Rights Under the Fair Credit Reporting Act” violated the FCRA’s standalone

disclosure requirement); Walker, 953 F.3d at 1090–91 (finding that informing

applicants regarding their right to obtain a copy of their consumer report violated

the standalone disclosure requirement).

      The same is true here. While Lowe’s will argue that the phrase was included

to provide “helpful” information regarding the scope of the consumer report to be

procured, that only serves to pull attention away from the rights actually at issue,

including by informing applicants that there will be some other forms to review

later. The Ninth Circuit has uniformly considered extraneous information

(including FCRA-related rights) that “pulls the applicant’s attention away” from

the Disclosure itself to violate the standalone requirement. Syed, 853 F.3d at 502;

Walker, 953 F.3d at 1090 (citing Syed); Gilberg, 913 F.3d at 1175 (same). Put

simply, the inclusion of the paragraph referencing an extraneous disclosure and

authorization violated the standalone disclosure requirement.

      Also, from a practical perspective the paragraph regarding future reports

adds nothing in terms of useful information that would aid an applicant in making

an informed decision regarding whether to authorize this report. As currently


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phrased, the Lowe’s Disclosure does not permit Lowe’s to obtain credit

information. But it includes an explanation regarding how Lowe’s could obtain

credit information in the future. On its face, a second disclosure and authorization

would be necessary to procure credit information in the future, and the inclusion of

a paragraph referencing an extraneous, future disclosure naturally “pulls the

applicant’s attention away” from the current Disclosure.

      The district court relied heavily on Warr v. Cent. Garden & Pet Co., to

justify the Disclosure’s references to future reports. No. 20-cv-09405-JST, 2021

WL 6275013, at *5 (N.D. Cal. Sept. 21, 2021) (ER-19.) But Warr is off-point. In

Warr, the disclosure stated, in relevant part:

      These reports may contain information regarding your credit history,
      criminal history, social security verification, motor vehicle records
      (“driving records”), verification of your education or employment
      history, or other background checks. Credit history will only be
      requested where such information is substantially related to the duties
      and responsibilities of the position for which you are applying.

Warr, 2021 WL 6275013, at *5 (emphasis in original). Contrary to Lowe’s

Disclosure, the disclosure in Warr did not reference any extraneous disclosures and

instead included an explanation that credit information could be procured using the

same disclosure. In the present case, the issue is not that credit information may be

obtained, it is that the disclosure references separate disclosures and

authorizations. The Warr disclosure permissibly included an explanation in a



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single disclosure while the Lowe’s Disclosure references an extraneous,

additional disclosure.

       The extraneous information included in the Lowe’s Disclosure confuses

applicants like Downing and pulls attention away from the disclosure. As such, the

disclosure violates the FCRA, and the district court’s order dismissing the case

should be reversed.

       C.    Plaintiff Sufficiently Alleges That Lowe’s Violations Of The
             FCRA Were Willful.

       As a final point, while the district court did not reach the issue of whether

the complaint sufficiently alleged a willful violation of the Act (ER-15), Downing

writes briefly to explain that he has alleged willfulness such that reversal would not

be futile.

       With respect to the FCRA, the Supreme Court has explained that “reckless

disregard of a requirement of FCRA would qualify as a willful violation” of the

Act. Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 71 (2007). Reckless disregard

occurs where the defendant acts or interprets a statute in a way that is “objectively

unreasonable” and creates a risk of violation that is substantially greater than the

risk associated with a careless reading. Id. at 69–70. While the Court deemed the

statute “less-than-pellucid” on the issue in 2007 (id. at 70), even a lack of

definitive authority “does not, as a matter of law, immunize [a party] from

potential liability” for violating the FCRA. Syed, 853 F.3d at 504 (quoting Cortez
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v. Trans Union, LLC, 617 F.3d 688, 721 (3d Cir. 2010)) (alterations in original).

      Since Safeco, the Ninth Circuit has repeatedly addressed the FCRA’s

disclosure requirement and has established decisive authority on the issue. In Syed,

this Court adopted the standards of Safeco and held that the standalone

requirement, as is at issue in the present case, “is not subject to a range of plausible

interpretations.” See Syed, 853 F.3d at 503–06. That is, “15 U.S.C. §

1681b(b)(2)(A) unambiguously forecloses the inclusion of a liability waiver in a

disclosure document. Thus we need not consider . . . subjective interpretation of

the FCRA in determining whether [the defendant] acted [recklessly].” Id. And, as

confirmed in Gilberg, Syed’s holding and analysis is “not limited to liability

waivers,” but applies “to any surplusage.” Gilberg, 913 F.3d at 1175.

      At the pleading stage, Downing “simply must allege sufficient facts to

demonstrate the alleged violation, as pled, amounts to an objectively unreasonable

reading of the statute.” Moore v. Rite Aid Hdqtrs Corp., No. CIV. A. 13-1515,

2015 WL 3444227, at *10 (E.D. Pa. May 29, 2015) (evaluating a motion to dismiss

in FCRA case that raised a similar willfulness argument and finding that the attack

improperly “go[es] to the merits of plaintiff’s case”).

      Here, Downing has alleged Lowe’s violation was willful: Lowe’s has faced

prior lawsuits regarding the FCRA’s disclosure requirements and the plain

language of established law and clear judicial and administrative guidance


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counsels against including extraneous language. (ER-41–42; ER-45.) Furthermore,

to the extent that Lowe’s asserts that the law was unsettled at the time of the

alleged violations, such arguments should be rejected. The Disclosure in this case

was presented in February of 2022. Syed, Gilberg, and Walker were firmly the law.

There is simply no basis for finding the law was unsettled at the time of the alleged

violations.

      Put simply, the FCRA’s disclosure requirements are unambiguous, and

taking the allegations in a light most favorable to Downing, as required on a

motion to dismiss, the allegations were sufficient to state a claim for willful

violation of the FCRA above the speculative level.

                                  CONCLUSION

      For the foregoing reasons, the district court’s order dismissing the Lowe’s

claims was committed in error. By presenting a combined, ambiguous disclosure

for applicants and their children/ward, the Lowe’s Disclosure ran afoul of the

FCRA’s “clear and conspicuous” and “standalone” disclosure requirements.

Ultimately, the Disclosure’s surplusage exceeds what is permitted by the Act and

was confusing to Downing and a reasonable person. Plaintiff therefore stated a

claim for relief.




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      As such, the district court’s order of dismissal should be reversed, and the

case should be remanded for discovery and consideration of the claims on the

merits.



Date: November 15, 2023                Respectfully submitted,

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                          FOR THE NINTH CIRCUIT

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Signature /s/ Taylor T. Smith                       Date 11/15/2023
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